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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CRS, LLC, )
Plaintiff,
v. 5 C.A. No. 08-476-GMS
NAPSTER, LLC,
Defendant.
STIPULATED ORDER

 

WHEREAS, the parties in the above action have reached an agreement in principle to
settle this matter, and are in the process of drafting the documentation necessary to memorialize
and implement their settlement; and

WHEREAS, the parties previously submitted a stipulation seeking to extend the deadline
for submission of the joint claim chart for two weeks (D.I. 38);

WHEREAS, despite their best efforts at drafting the necessary settlement documentation,
the parties require an additional two weeks to finalize the paperwork;

WHEREAS, the parties wish to avoid expending any further resources on the litigation
while they work on drafting the necessary settlement documentation, which they anticipate
having finished by November 6, 2009; now therefore,

IT IS HEREBY STIPULATED AND AGREED, subject to the approval and order of the
Court, that the deadline by which (i) the final joint claim chart is due is extended through and

including November 2, 2009 and (ii) the parties’ opening claim construction briefs are due is

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extended through and including November 6, 2009. All other deadlines in this case shall remain

 

 

unchanged.
WOMBLE CARLYLE SANDRIDGE ASHBY & GEDDES

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SO ORDERED, this day of , 2009.

 

 

Chief Judge

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